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 Attorneys for Plaintiffs

                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO




PENGUIN RANDOM HOUSE LLC;
HACHETTE BOOK GROUP, INC.;
HARPERCOLLINS PUBLISHERS LLC;
MACMILLAN PUBLISHING GROUP, LLC;
SIMON & SCHUSTER, LLC; SOURCEBOOKS                   Case No. [•]
LLC; THE AUTHORS GUILD; MALINDA LO;
DAVID LEVITHAN; DASHKA SLATER; THE                   COMPLAINT FOR
DONNELLY PUBLIC LIBRARY DISTRICT;                    INJUNCTIVE AND
CHRISTIE NICHOLS; OLIVIA LANZARA;                    DECLARATORY RELIEF
J.E., by and through his mother and next friend
Barbara Ersland; BARBARA ERSLAND; and
MELISA CULL,

                      Plaintiffs,

       v.

RAÚL LABRADOR, in his official capacity as
Attorney General of the State of Idaho; JAN
BENNETTS, in her official capacity as Ada
County Prosecuting Attorney; JUSTIN
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 COLEMAN, in his official capacity as Nez Perce
 County Prosecuting Attorney; BRIAN NAUGLE,
 in his official capacity as Valley County
 Prosecuting Attorney; JOHN OR JANE DOE; and
 THE EAGLE PUBLIC LIBRARY BOARD OF
 TRUSTEES, a department of the CITY OF
 EAGLE,

                          Defendants.

            Plaintiffs Penguin Random House LLC, Hachette Book Group, Inc., HarperCollins

 Publishers LLC, Macmillan Publishing Group, LLC, Simon & Schuster, LLC, Sourcebooks LLC,

     The Authors Guild, Malinda Lo, David Levithan, Dashka Slater, the Donnelly Public Library

 District, Christie Nichols, Olivia Lanzara, J.E. by and through his mother and next friend Barbara

 Ersland, Barbara Ersland, and Melisa Cull, by their attorneys, for their Complaint against

 Defendants Raúl Labrador in his official capacity as Attorney General of the State of Idaho, Jan

 Bennetts in her official capacity as Ada County Prosecuting Attorney, Justin Coleman in his

 official capacity as Nez Perce County Prosecuting Attorney, Brian Naugle in his official capacity

     as Valley County Prosecuting Attorney, John or Jane Doe, and the Eagle Public Library Board of

 Trustees, a department of the City of Eagle, state as follows:

I.      INTRODUCTION

            1.     Slaughterhouse-Five, The Bluest Eye, and A Clockwork Orange are thought-

 provoking, award-winning classics, renowned for their literary value. Many are first introduced

 to these books as minors at their schools or local libraries, under the guidance of trained

 professional educators and librarians.

            2.     Not anymore. Idaho now demands that public schools and public libraries either

 sequester these books — and others like them — away from young people or face the risk of

 challenge, litigation, and statutory damages for allowing these classic and valuable books to be

 accessed by minors.
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       3.      The right to speak and the right to read are inextricably intertwined. Authors have

the right to communicate their ideas to students without undue interference from the government.

Students have a corresponding right to receive those ideas. Publishers, librarians, educators, and

parents all play distinct roles in connecting authors to students, thereby encouraging literacy and

all its pedagogical benefits, including knowledge acquisition, development of critical thinking

skills, and community building.

       4.      This suit concerns Idaho House Bill 710, which amended Idaho Code Section 18-

1514 and added Section 18-1517B (“HB 710” or the “Act”). HB 710 violates the First and

Fourteenth Amendments rights of publishers, authors, parents, librarians, educators, and students

by forcing public schools and libraries to undertake drastic measures to restrict minors’ access to

books, or face injunction and/or monetary penalty.

       5.      HB 710 is a vague and sweeping law that prohibits public schools and libraries in

Idaho from making constitutionally protected books and other materials available to minors. By

this action, Plaintiffs seek to preliminarily and permanently enjoin enforcement of, and declare

unconstitutional and void, HB 710 as a violation of their rights under the First and Fourteenth

Amendments to the United States Constitution.

       6.      HB 710, which took effect July 1, 2024, purports to “protect” children from library

books and other materials deemed “harmful to minors” via a legislatively created bounty system.

Not only does HB 710 authorize county prosecutors and the attorney general to seek injunctive

relief against any school or public library that allows minors access to books the prosecutor deems

“harmful to minors,” but HB 710 goes on to deputize private individuals with the power to bring

a private right of action against schools or libraries who — in the individual’s own estimation —

violate HB 710’s terms. In doing so, HB 710 risks the imposition of onerous book challenge

review procedures, liability, and monetary penalties on public libraries and schools for carrying

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books and other constitutionally protected materials that anyone deems “harmful to minors.” The

Act thus puts educators and librarians in the untenable position of having to guess whether any

member of the public might file an objection to a book whose message they disagree with by

simply claiming that the book falls within HB 710’s vague and overbroad definition of materials

“harmful to minors.”

        7.        By voting the Act into law, the Idaho Legislature ignored that the First Amendment

prohibits the suppression of “[s]peech that is neither obscene as to youths nor subject to some other

legitimate proscription . . . solely to protect the young from ideas or images that a legislative body

thinks unsuitable for them. In most circumstances, the values protected by the First Amendment

are no less applicable when government seeks to control the flow of information to minors.”

Erznoznik v. City of Jacksonville, 422 U.S. 205, 213-14 (1975) (citation omitted).

        8.        Specifically, rather than limiting its reach to only obscene materials unprotected by

the First Amendment, HB 710’s definition of materials it deems “harmful to minors” is cryptic

and tautological. It is unconstitutionally overbroad and vague.

        9.        Although HB 710 echoes certain aspects of the United States Supreme Court’s

three-part test for obscenity as articulated in Miller v. California, 413 U.S. 15, 23–24 (1973), it

does not clearly and comprehensively apply it. Such an ambiguous — and pretextual — gesture

cannot save the Act from constitutional scrutiny.

        10.       The Miller standard defines “obscenity” as “works which, taken as a whole, [a]

appeal to the prurient interest in sex, [b] which portray sexual conduct in a patently offensive way,

and [c] which, taken as a whole, do not have serious literary, artistic, political, or scientific value.”

413 U.S. at 23.

        11.     While HB 710 incorporates the first two Miller prongs, the structure of the statute

requires consideration of the literary, artistic, political or scientific value of any given book in only

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limited circumstances. By failing to exclude works that have “have serious literary, artistic,

political, or scientific value” from the definition of materials “harmful to minors,” HB 710

empowers state prosecutors and deputized individuals to reach substantially more speech than the

First Amendment permits. See id. at 24.

       12.     HB 710 also violates the First Amendment by failing to distinguish between minors

of different ages. In effect, HB 710 lumps together all Idahoans under the age of 18, without regard

to the constitutional reality that material not appropriate for the youngest of minors may be

appropriate and of significant value to older minors.

       13.     Against this backdrop, and by requiring libraries, at a minimum, to “take reasonable

steps to restrict access by minors to materials [deemed] harmful to minors” under the law, HB 710

forces libraries either to sequester such materials to a fully monitored, cordoned-off, adults-only

section or to remove these materials from the library entirely. See Idaho Code § 18-1517B(3)(a).

       14.     Libraries and schools that lack the space and/or resources to construct such “adult-

only” areas have thus been forced to take the extreme step of becoming “adult-only” libraries that

restrict entry of any minor children unaccompanied by their parent or guardian, no matter their

age.

       15.     By so broadly regulating the display and availability of materials that are

constitutionally protected as to older minors and adults, HB 710 violates the First Amendment

because it imposes impermissibly overbroad and vague restrictions.

       16.     The Act’s overbreadth and vagueness are only exacerbated by its two-pronged

enforcement mechanism, which invites arbitrary and discriminatory enforcement not only by state

officials and law enforcement, but also by ordinary citizens who have no experience in reading —

much less understanding and enforcing — state statutes.



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       17.     HB 710 also violates the First Amendment by imposing viewpoint-based

restrictions on “ideolog[ies], opinion[s], [and] perspective[s]” expressed in the materials public

schools and libraries may make available to minors, including by targeting and subjecting “any act

of … homosexuality,” Idaho Code § 18-1514(3) — but not “any act of heterosexuality” — to its

definition of “sexual conduct” prohibited by the statute. See Rosenberger v. Rector and Visitors

of University of Virginia, 515 U.S. 819, 820 (1995).

       18.     In addition, HB 710 infringes on Idaho students’ First Amendment rights to receive

information because it limits their access to classic books such as Kurt Vonnegut’s

Slaughterhouse-Five and Margaret Atwood’s The Handmaid’s Tale, as well as young adult

bestsellers such as I’ll Give You the Sun by Jandy Nelson and The Perks of Being a Wallflower by

Stephen Chbosky, among countless other works of literature and non-fiction such as Maya

Angelou’s I Know Why the Caged Bird Sings and “What’s Happening to My Body?” Book for

Girls by Lynda Madaras.

       19.     The Act also infringes on book publishers’ and authors’ First Amendment right to

disseminate and have a wide range of their constitutionally protected books read by minors in

Idaho. Without the ability to reach their core audience, publishers and authors suffer both

creatively and financially.

       20.     Finally, HB 710 impacts the First Amendment rights of school librarians and

libraries themselves, forcing them to choose between restricting access to materials which they

believe have serious value for minors and risking onerous book challenge reviews, litigation, and

liability under HB 710.

       21.     Plaintiffs bring this action to safeguard their fundamental rights and the rights of

others under the First and Fourteenth Amendments.



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               22.      Plaintiffs respectfully request that this Court declare HB 710 unconstitutional under

       the First and Fourteenth Amendments, issue preliminary and permanent injunctions barring its

       enforcement, and award Plaintiffs their costs and attorneys’ fees.

 II.       JURISDICTION AND VENUE

               23.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

       and 1343, because this action is brought under 42 U.S.C. § 1983 and seeks to vindicate civil rights

       protected by the First and Fourteenth Amendments to the United States Constitution.

               24.      This Court has authority to grant the requested declaratory and injunctive relief

       under 28 U.S.C. §§ 2201, 2202, and 1343; Federal Rules of Civil Procedure 57 and 65; and the

       general legal and equitable powers of the Court.

               25.      Venue is proper in the District of Idaho under 28 U.S.C. § 1391(b) because

       Defendants reside in this judicial district and a substantial part of the acts or omissions giving rise

       to this action arose from events occurring in this judicial district.

               26.      Venue is proper in the Southern Division pursuant to District of Idaho Local Civil

       Rule 3.1 because two Defendants legally reside in Ada County, Idaho, and some of the acts or

       omissions giving rise to this action occurred in this division.

III.      PARTIES

              A. PLAINTIFFS

                     1. Book Publisher Plaintiffs.

               27.      Plaintiffs Penguin Random House LLC, Hachette Book Group, Inc., HarperCollins

       Publishers LLC, Macmillan Publishing Group, LLC, Simon & Schuster, LLC, and Sourcebooks

       LLC are publishers whose books have been targeted for restricted adults-only access or wholesale

       removal from public libraries and public school libraries throughout Idaho in connection with HB



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710. The Authors Guild (“Publisher Plaintiffs”) is a professional organization of writers, including

members who have been similarly targeted.

       28.     Plaintiff Penguin Random House LLC (“PRH”), a Delaware Limited Liability

Company headquartered in New York, is the U.S. arm of Penguin Random House, the world’s

largest trade publisher, which comprises more than 300 editorially and creatively independent

publishing imprints globally.

       29.     In connection with HB 710, many books published by PRH have been moved to

restricted adult-only sections or removed wholesale from Idaho public libraries and public school

libraries, including The Bluest Eye by Toni Morrison; Last Night at the Telegraph Club by Malinda

Lo; The Handmaid’s Tale by Margaret Atwood; A Clockwork Orange by Anthony Burgess; The

Freedom Writers Diary by Erin Gruwell and Freedom Writers; and I Know Why The Caged Bird

Sings by Maya Angelou.

       30.     PRH’s mission is to ignite a universal passion for reading by creating books for

everyone. PRH aims to publish books that provide children with a gateway to the whole world,

promoting literacy, fostering empathy, and inspiring free and open debate. Continued inclusion of

its books in Idaho’s public libraries and public school libraries is critical to PRH’s mission,

especially for books intended for elementary and young adult readers.

       31.     Plaintiff Hachette Book Group, Inc. (“Hachette”) is a U.S. general-interest book

publisher headquartered in New York City. Hachette’s publishing groups include prominent

imprints such as Little, Brown and Company; Little, Brown Books for Young Readers; Grand

Central Publishing; Basic Books; ORBIT; Running Press; Algonquin Books; and Workman

Publishing. Hachette is part of Hachette Livre, the world’s third-largest trade and educational

publisher. Hachette’s books and authors have garnered major awards, including the Pulitzer Prize,

National Book Award, Caldecott Medal, Newbery Medal, Booker Prize, and Nobel Peace Prize.

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        32.    Since HB 710 was enacted, books published by Hachette, including The Almost

Moon by Alice Sebold and Water for Elephants by Sarah Gruen have been taken off library shelves

in Idaho.

        33.    Hachette’s publishing programs aim to reflect the broad range of backgrounds,

experiences, and viewpoints that shape our society. Its mission is to make it easy for everyone to

discover new worlds of ideas, learning, entertainment, and opportunity, and it is fundamental to

Hachette’s mission that its books remain accessible to students in public school classrooms and

libraries.

        34.    Plaintiff HarperCollins Publishers LLC (“HarperCollins”), a subsidiary of News

Corp, is the second largest consumer book publisher in the world, with operations in 15 countries.

With 200 years of history and more than 120 branded imprints around the world, HarperCollins

publishes approximately 10,000 new books every year in 16 languages and has a print and digital

catalog of more than 250,000 titles. HarperCollins seeks to deliver content that presents a diversity

of voices and speaks to the global community. Writing across dozens of genres, its authors include

winners of the Nobel Prize, the Pulitzer Prize, the National Book Award, the Newbery and

Caldecott Medals, and the Booker Prize.

        35.    HB 710 has required librarians in Idaho to move certain of HarperCollins’ titles to

adult-only areas or to remove them from circulation entirely, including The Carnival at Bray by

Jessie Ann Foley; Damsel by Elana K. Arnold; Storm and Fury by Jennifer Armentrout; Allegedly

and Monday’s Not Coming by Tiffany D. Jackson; The Poet X by Elizabeth Acevedo; “What’s

Happening to My Body?” Book for Girls by Lynda Madaras; and Concrete Rose by Angie Thomas.

        36.    Plaintiff Macmillan Publishing Group, LLC (“Macmillan”) is a New York-based

group of U.S. publishers that includes Celadon Books; Farrar, Straus and Giroux; Flatiron Books;

Henry Holt & Company; Macmillan Audio; Macmillan Children’s Publishing Group; The St.

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Martin’s Publishing Group; and Tor Publishing Group. The U.S. publishing group is part of

Macmillan Publishers, a global trade book publishing company with prominent imprints around

the world. Macmillan publishes a broad range of award-winning books for children and adults in

all categories and formats.

       37.     Since HB 710 went into effect, scores of books published by Macmillan have been

pulled from Idaho public and school library shelves or sequestered in adult-only areas. These titles

include The Handsome Girl & Her Beautiful Boy by B.T. Gottfred; Red, White & Royal Blue by

Casey McQuiston; Spinning by Tillie Walden; and This One Summer by Mariko Tamaki.

       38.     Macmillan strongly advocates for the right to read, uniting a broad community of

authors, educators, librarians, and readers. Macmillan strives to ensure access to diverse literary

works, highlighting the critical role of literacy in democracy, championing the transformative

power of books in fostering understanding, and working to build an inclusive future.

       39.     Plaintiff Simon & Schuster, LLC (“S&S”), a New York Limited Liability Company

headquartered in New York City. It is a global leader in general interest publishing, dedicated to

providing the best in fiction and nonfiction for readers of all ages in all printed, digital, and audio

formats. Its distinguished roster of authors includes many of the world’s most popular and widely

recognized writers, and winners of the most prestigious literary honors and awards. S&S is home

to numerous well-known imprints and divisions such as Simon & Schuster, Scribner, Atria

Publishing Group, Gallery Books, Adams Media, Avid Reader Press, Simon & Schuster Books

for Young Readers, and Simon & Schuster Audio, and international companies in Australia,

Canada, India, the United Kingdom, and VBK in the Netherlands and Belgium. S&S proudly

brings the works of its authors to readers in more than 200 countries and territories.

       40.     S&S books have been taken out of circulation or reshelved in adult sections of

Idaho public and school libraries since HB 710 became law. Some of these books include

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Forever… by Judy Blume; novels by Ellen Hopkins, including Collateral, Fallout, Identical,

People Kill People, Traffick, You I’ve Never Known, and Perfect; Nineteen Minutes by Jodi

Picoult; and The Perks of Being A Wallflower by Stephen Chbosky.

       41.     Plaintiff Sourcebooks, LLC (“Sourcebooks”) is the largest woman-led publisher in

the United States with offices in Illinois and New York. Publishing both fiction and non-fiction

for children, young adults, and adults across 19 imprints and growing, Sourcebooks believes that

books change lives and is committed to reaching readers with books that will illuminate, inspire,

and enlighten lives.

       42.     Plaintiff The Authors Guild (the “Guild”) was founded in 1912 and is a national

non-profit association of more than 14,000 professional published writers of all genres. The Guild

counts historians, biographers, academics, journalists, and other writers of non-fiction and fiction

as members. The Guild works to promote the rights and professional interests of authors in various

areas, including copyright, freedom of expression, and taxation. Many Guild members earn their

livelihoods through their writing. Their work covers important issues in history, biography,

science, politics, medicine, business, and other areas; they are frequent contributors to the most

influential and well-respected publications in every field. The ability to write on topics of their

choosing and to have their work available through bookstores and libraries, including school

libraries, is vital to their ability to make a living in their chosen profession. Books written by the

Guild’s members, including Plaintiffs Malinda Lo and David Levithan, have been targeted for

removal or removed from public school libraries throughout Idaho as a result of HB 710’s

prohibition on books and other materials deemed “harmful to minors.”




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             2. Author Plaintiffs.

       43.      Plaintiffs Malinda Lo, David Levithan, and Dashka Slater (“Author Plaintiffs”) are

authors whose books have been targeted for restricted adults-only access or wholesale removal

from public libraries and public school libraries throughout Idaho in connection with HB 710.

       44.      Plaintiff Malinda Lo resides in Massachusetts. She is a New York Times bestselling

author and has written seven novels, all of which feature queer female characters. Lo’s works

have been selected for many best-of lists, including the American Library Association’s (“ALA”)

Best Fiction for Young Adults, the ALA’s Rainbow List, Bank Street College’s Best Children’s

Books, the Locus Recommended Reading List, and the James Tiptree Jr. Longlist.

       45.      Lo’s novel Last Night at the Telegraph Club is a historical coming-of-age novel set

in 1950s San Francisco about a Chinese American girl named Lily Hu who discovers her identity

as a lesbian. Last Night at the Telegraph Club won the National Book Award, the Stonewall Book

Award, the Asian/Pacific American Award for Literature, and a Michael L. Printz Honor. It was

also an LA Times Book Prize finalist. HB 710 has already forced some public and public school

libraries to remove Last Night at the Telegraph Club or put the novel in adult-only areas; the risk

that more Idaho libraries take the same action only grows each day HB 710 remains the law.

       46.      Plaintiff David Levithan resides in New Jersey. He is the author of five book series,

twenty-five stand-alone novels, and many short stories. Levithan has won numerous awards for

his work, including the Indies Choice Book Awards Honor, the Lambda Literary Award for

Children/Young Adult Literature, the National Council of Teachers of English’s Assembly on

Literature for Adolescents Award, and the ALA’s Margaret A. Edwards Award.

       47.      Levithan writes to normalize the experience of being a member of the LGBTQ+

community and to provide young adults stories in which they can see themselves. By weaving

together experiences of people from different backgrounds, Levithan aims to help young adults

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humanize others and become empathetic and well-rounded members of society. Despite his

books’ significant value to young readers, their discussion of topics like LGBTQ+ identity make

them a target for HB 710. The result is that students — Levithan’s most important readers, who

often lack the resources or ability to access his books outside of public or school libraries — are

cut off from Levithan’s important messages.

       48.      Plaintiff Dashka Slater is an author and journalist residing in California. She is the

recipient of many prestigious literary awards including the ALA’s Stonewall Book Award, the

Boston Globe-Horn Book Honor Book Award for Nonfiction, the California Library Association’s

Beatty Award, and the Wanda Gág Read Aloud Book Award.                     Slater writes to inspire

conversations. She believes that reading provides young people with the tools to be active and

informed citizens, to engage with deep and complicated social issues, and to consider the

experiences and perspectives of many kinds of people, including those unlike themselves. Slater’s

books deal with many themes, including transgender identity, racism, and criminal justice, making

them susceptible to censorship under HB 710. The threat posed by HB 710 hampers Slater’s ability

to reach her core audience — students and young people — harming her personal and literary

goals, as well as her First Amendment rights, in the process.

       49.      For each Author Plaintiff, public libraries and public school libraries are critical

means of reaching their intended audiences and securing the broadest possible readership. The

Author Plaintiffs’ books, including the books identified herein, are vehicles for their personal

messages and ideas. The removal of their books from public and school libraries, including the

stigma associated with this removal, causes them harm, both personally and professionally.

             3. Public Library Plaintiff.

       50.      The Donnelly Public Library District (the “Donnelly Library”) is a small, rural

library serving the Town of Donnelly, Idaho, in Valley County. As a public library district, it is a

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public corporation and may sue and be sued in its corporate name pursuant to Idaho Code § 33-

2722. Donnelly has a population of approximately 250 people.

       51.      The Donnelly Library, which only officially opened to the public on July 6, 2018,

operates out of a 1,024-square-foot log cabin and a handful of teepees currently used in an effort

to sustain the library’s after-school programing. The library is a tenth of the size of Idaho’s average

library, which is 10,552 square feet.

       52.     The Donnelly Library — which subsists on grants, after-school tuition payments,

limited local option tax money, and donations from community members — has extremely limited

financial resources.

       53.     Although the library has never made available any material that is “obscene” or

“harmful to minors” as those terms are defined in Miller and its progeny, it does carry books that

some Idahoans may find offensive despite their obvious literary merit. These include To Kill a

Mockingbird by Harper Lee and The Hate U Give by Angie Thomas, as well as other books that

grapple with difficult but important themes such as puberty, sex, gender, and race.

       54.     By including those literary works in its collection, the risk of liability and statutory

damages flowing from HB 710’s vague and ambiguous prohibitions represent too high a risk for

the library to carry, particularly given its already strained financial situation. Put simply, the

Donnelly Library cannot afford the risk of litigation under HB 710.

       55.     Even if the Donnelly Library had the financial resources to hire staff to review each

book in its collection to determine whether it may fall within HB 710’s overbroad, vague, and

ambiguous scope — which it does not — its exceedingly small size would nevertheless make it

impossible to cordon off any such materials into an adult-only section, let alone in a way that

would reasonably “restrict access by minors.” Idaho Code § 18-1517B(3)(a).



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        56.      Accordingly, in direct response to the passing of HB 710, the Donnelly Library

made the sad and drastic decision to transition to an adult-only library in May 2024 in order to

avoid the risk of litigation and statutory damages under the Act.

        57.      Now, before any minor may even step foot inside the Donnelly Library, including

to attend the only after-school program available in the town, his or her parent or guardian must

first complete a three-part waiver.

        58.      These restrictions have already severely limited patrons’ access to library materials.

For example, from July 1, 2023, through August 15, 2023, patrons checked out 1,748 materials

from the Donnelly Library. That number dropped to 999 during the same timeframe in 2024.

              4. Public School Librarian Plaintiff.

        59.      Public School Librarian Plaintiff Christie Nichols is a librarian at Rocky Mountain

High School (“Rocky Mountain”) in Meridian, Idaho, which serves ninth through twelfth grades.

She is also the parent of two high school students. Rocky Mountain is part of the West Ada School

District (the “District”).

        60.      Although the Rocky Mountain library has never made available any material that

is “obscene” or “harmful to minors” as those terms are defined in Miller and its progeny, due to

the threat of litigation and statutory damages under HB 710, the West Ada School District has sent

all libraries a list of over 60 titles that must be removed from District libraries, including Rocky

Mountain, in an attempt to comply with HB 710’s vague and overbroad provisions.

        61.      Prior to this mandate, Rocky Mountain’s collection housed well over half of the

titles included in the District list, including I’ll Give You the Sun, a beautifully written novel by

Jandy Nelson that includes storylines involving LGBTQ characters. I’ll Give You the Sun received

the 2015 Michael L. Printz Award, an annual award from the American Library Association

honoring the year’s best book written for teens, based entirely on its literary merit. The District

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list also includes popular and classic titles such as The Perks of Being a Wallflower by Stephen

Chbosky and Slaughterhouse-Five by Kurt Vonnegut.

         62.      Nichols has been instructed by the District to remove these and any other titles

included on the District list, even though she believes these books have serious literary, artistic,

political, or scientific value for her students.

         63.      Per District policy, Nichols has been instructed to send these titles to her District

headquarters, which restricts minor access to those titles unless parental permission is first granted.

Likewise, Nichols is unable to provide student access to books via inter-library loan without

written parental permission.

               5. Student and Parent Plaintiffs.

         64.      Plaintiffs J.E. and Olivia Lanzara (“Student Plaintiffs”) are high school students in

Idaho who have been harmed by HB 710 because of its impact on their ability to access a wide

range of books through both their public and school libraries. They have also suffered harm due

to the stigma HB 710 generates surrounding books deemed “harmful to minors” under the law.

         65.      Student Plaintiff J.E. is a 17-year-old junior at Lewiston High School in Lewiston,

Idaho.

         66.      J.E. has read, or plans to read, many of the books that either have already been

removed from libraries in multiple Idaho school districts or are included on lists of materials that

some Idahoans want removed from public library shelves.

         67.      J.E. relies on these books to exemplify the lessons he learns at school through

relatable characters, to provide an alternative medium of enjoyment outside of social media and

technology, and to provide sources for his work as a student-journalist. J.E. is also an aspiring

author, and books are an important creative outlet for him.



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       68.      Along with his peers, J.E. relies on his school library as an educational and

communal resource. He sees the library as a place for him and fellow students to come together

and share their thoughts in a welcoming environment.

       69.      But given the removal of books at numerous other Idaho school libraries, J.E. is

concerned that his own school library will soon deny him access to age-appropriate books that

foster his learning. He worries that he will be barred from accessing essential parts of his

educational foundation and will be at a deficit compared to his future peers who have not had their

access to books restricted.

       70.      J.E. is concerned with how librarians who stock The Kite Runner by Khaled

Hosseini, for example, are branded “groomers,” and with how students who read The Kite Runner

are othered and stigmatized. The Kite Runner involves adult themes, like sexual assault of a minor,

but does not endorse — and in fact, repudiates — sexual assault throughout. The central

exploration of the novel is about redemption and bravery in the face of tragedy, not the brief

instance of sexual assault at the novel’s start.

        71.     J.E. views school libraries as essential to providing access to the marketplace of

ideas and believes book removals diminish our world, making it less colorful and more insular.

        72.     While J.E. is a minor, he is closer to 18 than he is to elementary school age. In fact,

J.E. takes dual-credit courses through a program with Lewis-Clark State College, which requires

him to consume college-level materials that are considered age-appropriate for him. HB 710,

however, does not account for the differences in maturity and reading level between the youngest

and the oldest of minors. Thus, even though J.E.’s school district has approved him to engage with

material that is appropriate for both college and high school students, the same district may soon,

ironically, prevent him from accessing those very materials at his own school library.



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        73.     Barbara Ersland, J.E.’s mother and next friend, lives in Lewiston, Idaho, in Nez

Perce County. Ersland wants her son J.E. to have access to a wide range of books and materials

through his school library so that, among other reasons, J.E. is presented with different viewpoints

and experiences and is thus better prepared to engage with a wide range of people.

        74.     Student Plaintiff Olivia Lanzara is a resident of Meridian, Idaho in Ada County.

She is currently an 18-year-old senior at Rocky Mountain High School — the same school noted

above where librarians have been directed to remove any books included on a list prepared by the

West Ada School District in response to HB 710.

        75.     During her senior year, Olivia had expected to be able to easily — and without fear

of stigmatization — check out many of the books now included on the West Ada District list of

restricted books, including I Know Why the Caged Bird Sings by Maya Angelou, I’ll Give You the

Sun by Jandy Nelson, and Traffick by Ellen Hopkins.

        76.     Olivia had intended to access these books, and others like them, directly from her

public school library, as she has done throughout her school life.

        77.     Direct and uncomplicated access to these works would allow Olivia to see beyond

her day-to-day experiences by introducing her to new narratives, perspectives, and ideas. For

Olivia, books initiate challenging conversations in safe environments and empower her to navigate

unsafe or difficult situations.

        78.     However, given the fear and ambiguity surrounding HB 710, Olivia can no longer

access these books directly via her school library. Rather, although Olivia is now 18 and no longer

a minor subject to HB 710’s “protections,” she must nevertheless jump through hoops to access

these books via the West Ada School District library. It is unclear to Olivia and others how any

student, including those 18 years or older, is meant to go about this task. Whatever the procedure

may be, actually following through with such procedure is likely to stigmatize those students

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seeking access to “banned” or “protected” books, whether the students are under or over 18 years

of age.

                6. Eagle Plaintiff.

          79.      Plaintiff Melissa Cull is a resident of Eagle, Idaho. She and her three school-aged

children are all avid readers and have been patrons of the Eagle Public Library since 2017.

          80.      On July 24, 2024, an anonymous individual submitted 23 written notices to the

Eagle Public Library Board (the “Board”) pursuant to Idaho Code § 18-1517B(3), requesting that

23 books be relocated or removed from circulation because they purportedly violated HB 710.

          81.      Pursuant to the requests, the Board removed three of those books from the library

shelves and placed them behind the circulation desk, including What Girls Are Made Of by Elana

K. Arnold. Minors are now restricted from accessing these three books without written parent or

guardian consent.

          82.      The remaining twenty books complained of were removed from the children’s and

young adult sections and reshelved in the library’s adult area.

          83.      What Girls Are Made Of — one of the three books now restricted from minor access

at Eagle Public Library — was a finalist for the 2017 National Book Award for Young People’s

Literature. Reviewers have described it as a powerful and unforgettable look at the things that

define teenage girls, and as a meditation on the idea of unconditional love and whether such love

is dangerous or appealing. The main character is a 16-year-old girl who works in an animal shelter

and is aching after the boyfriend she would do anything for dumped her. In this bildungsroman,

the main character looks critically at lessons taught to her by her mother as she navigates the road

to adulthood. The book does not shy away from challenging topics teenage girls confront in real

life and Cull believes it is an important and impactful story for young people — especially teen

girls, like her daughters.

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       84.     Under HB 710, Cull worries that Eagle’s youth are missing out on transformational,

important, First Amendment-protected materials and will thus lose out on building lifelong skills

in empathy and understanding. Cull also worries that Eagle’s youth will be less prepared to face

life’s harder struggles as a result of HB 710.

       85.     Cull wants her children to have free and open access to constitutionally protected

materials. Since the removal and reshelving of 23 titles in the Eagle Public Library, Cull fears that

her children and others will face stigma for seeking out allegedly “inappropriate” books, or that

they will avoid otherwise valuable literature altogether.

       B. DEFENDANTS

       86.     Defendant Raúl Labrador is the Attorney General of the State of Idaho. He is sued

in his official capacity only, as the state’s Attorney General, a position in which he acts under color

of law to enforce HB 710. See Idaho Code § 18-1517B(5).

       87.     Defendant Jan Bennetts is the Ada County Prosecuting Attorney. She is sued in

her official capacity only, as the county prosecuting attorney in a county in which Plaintiffs are

located and in which she acts under color of law to enforce HB 710. See Idaho Code § 18-

1517B(5).

       88.     Defendant Justin Coleman is the Nez Perce County Prosecuting Attorney. He is

sued in his official capacity only, as a county prosecuting attorney in a county in which Plaintiffs

are located and in which he acts under color of law to enforce HB 710. See Idaho Code § 18-

1517B(5).

       89.     Defendant Brian Naugle is the Valley County Prosecuting Attorney. He is sued in

his official capacity only, as a county prosecuting attorney in a county in which Plaintiffs are

located and in which he acts under color of law to enforce HB 710. See Idaho Code § 18-1517B(5).



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             90.      Defendant Jane or John Doe is the individual who sent notices to the Eagle Public

      Library requesting that 23 books be removed from circulation or relocated pursuant to Idaho Code

      § 18-1517B(3).

             91.      The Eagle Public Library is a department of the City of Eagle. Defendant Board of

  Trustees of the Eagle Public Library is the institution responsible for responding to written notices

  requesting removal or relocation of library materials. See Idaho Code § 18-1517B(3). Pursuant to

   such requests, the Eagle Public Library Board of Trustees has removed three books from library

   shelves and relocated twenty others.

IV.      FACTUAL ALLEGATIONS

             92.      Following enactment by the Idaho Legislature, Idaho Governor Brad Little signed

   HB 710 into law on April 10, 2024.

             93.      The law took effect on July 1, 2024.

             94.      HB 710 amended Idaho Code Section 18-1514 to amend the law’s definitions of

   certain terms concerning “obscene materials,” and created a new provision, Section 18-1517B,

   entitled the “Children’s School and Library Protection Act.”

          A. HB 710’S STRUCTURE AND SCOPE

             95.      Although verbose, vague, and ambiguous, HB 710 can best be broken into three

      main components: (1) substantive prohibition, (2) definitions, and (3) enforcement.

             96.      The substantive prohibition and enforcement provisions are found in HB 710’s

      newly created statutory provision, Idaho Code Section 18-1517B, while the definitions are listed

      in Idaho’s variable obscenity statute, Section 18-1514.

                   1. The Substantive Prohibition.

             97.      HB 710’s substantive prohibition provides as follows:



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                Notwithstanding any other provision of law, a school or public library, or
                an agent thereof, shall not promote, give, or make available to a minor:

                               (a) Any picture, photograph, drawing, sculpture, motion
                       picture film, or similar visual representation or image of a person or
                       portion of the human body that depicts nudity, sexual conduct, or
                       sado-masochistic abuse and that is harmful to minors;
                               (b) Any book, pamphlet, magazine, printed matter however
                       reproduced, or sound recording that contains any matter pursuant to
                       paragraph (a) of this subsection or explicit and detailed verbal
                       descriptions or narrative accounts of sexual excitement, sexual
                       conduct, or sado-masochistic abuse and that, taken as a whole, is
                       harmful to minors; or
                               (c) Any other material harmful to minors.

Idaho Code § 18-1517B(2).

             2. The Definitional Provisions.

       98.      The scope of HB 710’s substantive prohibition turns primarily on the following

definition of “harmful to minors”:

                “Harmful to minors” includes in its meaning the quality of any material or
                of any performance or of any description or representation, in whatever
                form, of nudity, sexual conduct, sexual excitement, or sado-masochistic
                abuse, when it:



                               (a) Appeals to the prurient interest of minors as judged by
                       the average person, applying contemporary community standards;
                       and
                               (b) Depicts or describes representations or descriptions of
                       nudity, sexual conduct, sexual excitement, or sado-masochistic
                       abuse which are patently offensive to prevailing standards in the
                       adult community with respect to what is suitable material for minors
                       and includes, but is not limited to, patently offensive representations
                       or descriptions of:

                                      (i) Intimate sexual acts, normal or perverted, actual
                              or simulated; or
                                      (ii) Masturbation, excretory functions or lewd
                              exhibition of the genitals or genital area. Nothing herein
                              contained is intended to include or proscribe any matter
                              which, when considered as a whole, and in context in which
                              it is used, possesses serious literary, artistic, political or
                              scientific value for minors.
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Idaho Code § 18-1514(6).

       99.     Notably, while the definition of “harmful to minors” appears to incorporate the first

two prongs of the Miller test for obscenity, its reference to the final prong is vague, unstructured,

and confusing. See Miller, 413 U.S. at 24.

       100.    Specifically, while it appears the last sentence of Section 18-1514(6)(b)(ii) is meant

to capture the final prong of the Miller test to some extent, its placement within HB 710’s statutory

scheme demonstrates that its application is limited only to material that includes representations

or descriptions of “[m]asturbation, excretory functions or lewd exhibition of the genitals or genital

area” — only a small subset of the topics or acts HB 710 targets.

       101.    Works that describe any other topic or act, “including intimate sexual acts,” are

thus subject to the Act’s prohibition even if they, taken as a whole, do have “serious literary,

artistic, political, or scientific value” — a result directly at odds with the Supreme Court’s holding

in Miller.

       102.    The Act’s substantive prohibition must also be read in conjunction with other

statutorily defined terms — each of which further confuses, rather than clarifies, the scope and

applicability of the Act’s substantive prohibition.

       103.    For example, HB 710 defines “minor” as “any person less than eighteen (18) years

of age” and, in doing so, fails to distinguish between younger and older “minors.” Idaho

Code § 18-1514(1).

       104.    Accordingly, when read in conjunction with the definition of “minor,” the term

“harmful to minors” necessarily means materials considered harmful to the youngest of minors

without regard as to whether such materials would be appropriate for, and not harmful to, the oldest

of minors.



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       105.    The Act’s definition of “sexual conduct,” is particularly troubling in the way it

subjects, and thereby targets, “any act of . . . homosexuality” — but not any act of heterosexuality

— to its substantive prohibitions no matter how innocuous or non-sexual such act may be. Idaho

Code § 18-1514(3)

       106.    The Act defines “sexual conduct” as follows:

               “Sexual conduct” means any act of masturbation, homosexuality, sexual
               intercourse, or physical contact with a person’s clothed or unclothed
               genitals, pubic area, buttocks or, if such person be a female, the breast.

Id.

       107.    Importantly, “any act of heterosexuality” is not included in the Act’s definition of

“sexual conduct,” leaving reasonable and appropriate room to conclude that certain “acts of

heterosexuality” are, by their very nature or within context, not sexual. In fact, by application of

this definition, an act of heterosexuality would constitute “sexual conduct,” and thus be subject to

HB 710’s substantive prohibitions, only if such act constituted an act of “masturbation . . . sexual

intercourse, or physical contact with a person’s clothed or unclothed genitals, pubic area, buttocks

or, if such person be a female, the breast.” By contrast, however, by including “any act of . . .

homosexuality” in the list of conduct deemed inherently sexual by operation of this definition,

“acts of homosexuality” do not enjoy the same room for reasonable context and analysis. Rather,

by its very terms, the Act deems “any act of homosexuality” necessarily sexual, thereby subjecting

any such “act of homosexuality” — no matter how innocuous or non-obscene in nature — to the

Act’s substantive prohibition.

       108.    The Act defines “material” broadly, and incoherently, to mean “anything tangible

which is harmful to minors, whether derived through the medium of reading, observation or

sound.” Idaho Code § 18-1514(7).



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           3. The Enforcement Provisions.

       109.     To enforce its ban on “material harmful to minors,” HB 710 creates public and

private causes of action against schools and libraries.

       110.     Under HB 710, all schools and public libraries must “have a policy and readily

accessible form allowing a person to request review of material the person considers to be harmful

to minors.” Idaho Code § 18-1517B(7).

       111.     HB 710 provides that a “county prosecuting attorney or the attorney general shall

have a cause of action for injunctive relief against any school or public library that violates” the

law’s prohibition against “promot[ing], giv[ing], or mak[ing] available to a minor” any “material

harmful to minors.” See Idaho Code §§ 18-1517B(5), (2).

       112.     HB 710 also provides for an administrative review process, private cause of action,

and statutory damages that “[a]ny minor who obtains material [harmful to minors],” as well as

their parents and legal guardians, may pursue against schools and libraries. See Idaho Code § 18-

1517B(3)–(4).

       113.     Any such minor or their parent or legal guardian may “provide[] written notice to

the school or public library asking for the relocation of such material [harmful to minors which the

minor obtained] to a section designated for adults only.” Idaho Code § 18-1517B(3)(b).

       114.     If, after 60 days of receiving such written notice, the “institution’s library board or

board of trustees failed to relocate the material harmful to minors to an area with adult access

only,” the minor or their parent or legal guardian may bring a private cause of action against the

institution to recover $250 in statutory damages, actual damages, and injunctive relief. Idaho

Code § 18-1517B(3)–(4).

       115.     The statute does not specify whether the $250 statutory penalty is per action, per

book deemed “harmful to minors,” or per plaintiff.

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       116.    HB 710 provides that a school or library has an affirmative defense to civil liability

under the law if it “[h]ad reasonable cause to believe that the minor involved was” at least 18, or

if the minor was accompanied by an adult who “signed a written statement” asserting parental or

legal guardianship. Idaho Code § 18-1517B(6). But, absent these circumstances, if the school or

library “failed to take reasonable steps to restrict access by minors to material harmful to minors,”

it will be subject to liability. See Idaho Code § 18-1517B(3)(a). Making matters worse, reports

indicate that insurers serving public libraries and schools across Idaho may refuse to cover the

costs stemming from such liability.

       117.    For classroom and school libraries, HB 710 thus forces local libraries to sequester

such materials to a fully monitored, cordoned-off, adults-only section, remove these materials from

the library entirely, or ban minors from the library altogether.

       B. GOVERNOR LITTLE’S 2023 VETO OF A PREVIOUS ITERATION OF THE
          BOOK BAN LAW

       118.    HB 710 is the culmination of multiple attempts by the Idaho Legislature to restrict

minors’ access to books.

       119.    For example, in 2023, House Bill 314 nearly became law. House Bill 314 would

have imposed similar restrictions on schools and libraries as HB 710, but it created an even more

draconian bounty system than HB 710: under the 2023 bill, private individuals who sued

successfully under the law could recover statutory damages of $2,500 (10 times the statutory

damages in HB 710).

       120.    Governor Brad Little ultimately vetoed House Bill 314, and the House failed by a

single vote to override the veto.

       121.    In a letter to legislators explaining his veto of House Bill 314, Governor Little wrote

that his “main concern is that the bill’s ambiguity will have unintended consequences for Idaho


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libraries and their patrons. This legislation makes sweeping, blanket assumptions on materials that

could be determined as ‘harmful to minors’ in a local library, and it will force one interpretation

of that phrase onto all the patrons of the library.” Governor Little also expressed concerns about

the “$2,500 in automatic fines creat[ing] a library bounty system that will only increase the costs

local libraries incur” and the possibility that those costs would be passed along to Idaho taxpayers

or “cause the libraries to close to minors altogether.”

       122.      Although, compared to the 2023 bill, HB 710 imposes a lower damages amount

and eliminates a portion of the vague and overbroad House Bill 314 language, much of the same

“ambiguity” about which Governor Little expressed concern in his House Bill 314 veto remains

in HB 710. This is particularly true of the “sweeping, blanket assumptions on materials that could

be determined as ‘harmful to minors’” about which Governor Little expressed concern.

       C. CONTINUED CONFUSION OVER HB 710’S SCOPE AND APPLICABILITY

       123.      Upon signing HB 710 on April 10, 2024, Governor Little wrote in a letter to House

Speaker Mike Moyle that HB 710 “addresses most, but not all, of the concerns [he] outlined in

[his] veto letter last year” regarding House Bill 314. He noted that HB 710 “reduces damages

from $2,500 to $250,” and allows schools and libraries to avoid liability if they restrict access to

“materials of concern within 60 days” of receiving a formal complaint about the materials.

       124.      Governor Little further noted that, “[c]ompared to last year’s legislation, [HB 710]

also tightens the definition of what is considered ‘harmful to minors,’ providing greater clarity for

local libraries and their patrons.”

       125.      Governor Little ended the letter with the following: “[w]hile I have signed [HB

710], like many Idahoans, I will be watching the implementation and outcomes of this legislation

very closely.”



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        126.    Even before taking effect on July 1, 2024, HB 710 had an immediate and dramatic

impact on libraries across Idaho, as libraries and schools struggled to discern the law’s scope and

how to comply with it.

        127.    Two days after HB 710 was signed into law, the Idaho Library Association (“ILA”)

requested clarification from Governor Little’s office on the law’s scope and meaning. Specifically,

the ILA asked about Governor Little’s statement in his signing letter that the law “tighten[ed] the

definition of what is considered ‘harmful to minors’” compared with the 2023 bill — noting that

the ILA “did not see that in the bill,” and that “Libraries are not quite sure how they should operate

under this law.”

        128.    The ILA received no response to its request for clarification.

        D. HB 710’S VAGUE AND OVERBROAD VIEWPOINT-BASED
           RESTRICTIONS HAVE HAD A SEVERE CHILLING EFFECT ON
           PLAINTIFFS’ EXERCISE OF THEIR FIRST AMENDMENT RIGHTS

            1. Obscenity, Minors, and the First Amendment.

        129.    The First Amendment prohibits the State from imposing vague, overbroad, and/or

content-based restrictions on public schools’ and libraries’ ability to provide minors with non-

obscene speech and materials. See Erznoznik, 422 U.S. at 213-14.

        130.    In Miller, the Supreme Court set forth the primary legal test for determining

whether expression constitutes obscenity and is therefore not protected under the First

Amendment. Under that test, a work will be found to be obscene if (i) the average person, applying

contemporary community standards, would find that the work, taken as a whole, appeals to the

prurient interest; (ii) the work depicts or describes, in a patently offensive way, sexual conduct

specifically defined by the applicable state law; and (iii) the work, taken as a whole, lacks serious

literary, artistic, political, or scientific value. Miller, 413 U.S. at 93.



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       131.    Additionally, when applied to minors, Miller’s obscenity standard must account for

the age of the reader. A book is not obscene as to minors if it has serious value for a legitimate

subset of minors, such as older minors. See Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383,

388 (1988).

       132.    By regulating the availability of materials that are neither obscene under the Miller

test nor obscene as to the oldest of minors — let alone the oldest of public school students — HB

710 violates Plaintiffs’ First Amendment rights.

           2. The Effects of HB 710.

       133.    The constitutional harms created by HB 710 have already become evident.

       134.    HB 710 leaves public libraries and schools — particularly those with limited

resources, space, or both — only a Hobson’s choice. Public schools and libraries must either

accommodate the age restrictions HB 710 demands or risk litigation from public and private

litigants. See Idaho Code § 18-1517B(3)-(5).

       135.    HB 710’s 60-day notice procedure does nothing to quell this risk, as that procedure

necessarily results in either the relocation of the material being challenged or the grant of a private

right of action to the challenger. See Idaho Code § 18-1517B(3).

       136.    For example, after receiving 23 such notices, the Board of Trustees of the Eagle

Public Library moved 20 books to adult-only areas of the library and placed 3 others behind the

circulation desk, making them entirely unavailable to minors without written permission from a

parent or guardian.

       137.    HB 710 also provides county prosecuting attorneys and the attorney general with a

cause of action against any school or public library that violates its substantive provision without

the need for any prior notice or challenge process. See Idaho Code § 18-1517B(5).



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       138.    In short, HB 710 has forced public libraries, school libraries, and librarians within

the State to take extreme steps to minimize challenges and litigation under the Act.

       139.    Public Library Plaintiff the Donnelly Library recently announced that, given space

constraints in its 1,024-square-foot log cabin library building that cannot accommodate the age

restrictions HB 710 demands, together with a strained financial situation that makes bearing the

risk of litigation and statutory damages untenable, the library would be closing its doors entirely

to any minors unaccompanied by a parent or guardian in May 2024.

       140.    The Donnelly Library’s adult-only policy threatened to shutter the library’s after-

school program — the only option for after-school childcare in the small, rural town of Donnelly.

       141.    After attempts to entirely re-locate its after-school programing to teepees set up

outside its library building, the Donnelly Library implemented a three-part waiver program in an

effort to allow children to enter the library without a parent or guardian present.

       142.    The option of executing a waiver does little to mitigate the risk of harm imposed

by HB 710, which provides no safe harbor for libraries that implement a waiver program like

Donnelly’s. See Idaho Code § 18-1517B.

       143.    Implementation of the adult-only policy and the requirement that any children

wishing to enter the library first obtain a waiver from a parent or guardian not only creates stigma

and severely limits patrons’ access to the library and the materials it houses, but these changes

have also resulted in a drastic year-over-year reduction in library membership and participation in

its after-school programs.

       144.    Public School Librarian Plaintiff Nichols has also been forced to remove nearly 40

titles from the Rocky Mountain library, due to a district policy aimed at reducing the threat of

litigation and statutory damages pursuant to HB 710.



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       145.    These titles include I’ll Give You the Sun by Jandy Nelson, The Perks of Being a

Wallflower by Stephen Chbosky, and Slaughterhouse-Five by Kurt Vonnegut, among others.

       146.    The removal of these titles from the Rocky Mountain library will directly impact

students’ rights to receive these constitutionally protected materials. For example, Public School

Student Plaintiff Olivia Lanzara, an incoming Senior at Rocky Mountain, will be unable to directly

access classic and immensely popular books from her public school library, like I Know Why The

Caged Bird Sings by Maya Angelou, notwithstanding the fact that she is no longer a minor.

       147.    As a result of HB 710’s overbroad and vague prohibitions, many young Idahoans

have lost the ability to access their libraries’ vast general collections and are instead confined to

limited collections and/or child-specific sections.

       148.    HB 710’s vague and overly broad prohibitions have also resulted in the removal

from public libraries and schools of books authored by the Author Plaintiffs and/or published by

the Publisher Plaintiffs — many of which have enjoyed unobstructed access on library shelves for

decades due to their great value to readers and none of which contain any material that is “obscene”

or “harmful to minors” as those terms are defined in Miller and its progeny.

       149.    Author Malinda Lo has already had her work censored by at least two public

libraries in Idaho. Last Night at the Telegraph Club, which deals with many LGBTQ+ themes,

can no longer be found in the Rocky Mountain library and has been relocated to the adult section

of the Eagle Public Library.

       150.    Author David Levithan expects that his novel Two Boys Kissing is or will soon be

unavailable to many young Idaho readers, particularly since that title has been banned pursuant to

other similar book ban laws.

       151.    Author Dashka Slater likewise foresees her book, The 57 Bus: A True Story of Two

Teenagers and the Crime That Changed Their Lives, which features a transgender character and

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 discusses themes of race and criminal justice, will be relocated to adult-only areas of Idaho

  libraries.

V.    CLAIMS FOR RELIEF

                                          CLAIM ONE:
                           FIRST AMENDMENT – OVERBREADTH
                             (All Plaintiffs Against All Defendants)

          152.   All prior paragraphs are incorporated herein by reference as if fully set forth herein.

          153.   A statute is unconstitutionally overbroad if “a substantial number of its applications

 are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.” United States v.

 Stevens, 559 U.S. 460, 473 (2010) (citation omitted).

          154.   “The overbreadth doctrine prohibits the Government from banning unprotected

 speech if a substantial amount of protected speech is prohibited or chilled in the process.” Ashcroft

 v. Free Speech Coal., 535 U.S. 234, 255 (2002) (plurality opinion).

          155.   HB 710 is overbroad for several reasons.

          156.   In Miller v. California, the United States Supreme Court defined “obscenity” as

 “works which, taken as a whole, [a] appeal to the prurient interest in sex, [b] which portray sexual

 conduct in a patently offensive way, and [c] which, taken as a whole, do not have serious literary,

 artistic, political, or scientific value.” 413 U.S. at 23–24.

          157.   While the third Miller prong receives passing mention in HB 710, its application is

 limited only to works that represent or describe “[m]asturbation, excretory functions or lewd

 exhibition of the genitals or genital area.” Idaho Code § 18-1514(6)(i)–(ii).

          158.   The failure to properly incorporate the third prong of the Miller obscenity standard

 into HB 710’s definition of material “harmful to minors” fails to omit from its overbroad sweep

 materials which, “taken as a whole,” do have “serious literary, artistic, political, or scientific



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value.” In other words, the Act extends far beyond the bounds of banning only material which is

legally obscene.

       159.    Even if HB 710 could somehow be interpreted to incorporate all three prongs of the

Miller standard with respect to all materials within its reach, it is nevertheless unconstitutionally

overbroad given the manner in which it lumps together all Idahoans under the age of 18, without

regard to the constitutional reality that material not appropriate for the youngest of minors may be

appropriate and of significant value to older minors.

       160.    A book is not obscene as to minors if it has serious value for a legitimate subset of

minors, such as older minors. See Am. Booksellers Ass’n, Inc., 484 U.S. at 388; Erznoznik, 422

U.S. at 213–14.

       161.    By defining “minor” broadly as any individual under the age of 18, the Act’s

substantive prohibition necessarily attaches to materials considered harmful to the youngest of

minors. This definition thus restricts all minors’ access to such materials without acknowledging

the constitutional reality that what may be obscene for the youngest of minors may nevertheless

be appropriate and of significant value to the oldest of minors.

       162.    HB 710 also regulates substantially more speech than the First Amendment permits

by failing to properly define a host of terms — including, but not limited to, “harmful to minors,”

“minor,” “matter,” “adults only,” “access,” “relocate,” and “promote, give, or make available” —

and, further, discriminates based on viewpoint by singling out books describing “any act . . . of

homosexuality” via its overbroad definition of “sexual conduct.” Idaho Code §§ 18-1514(3).

       163.    The chilling effect of HB 710 further underscores its overbreadth.

       164.    This overbreadth violates the First Amendment to the United States Constitution as

to the Publisher Plaintiffs and Author Plaintiffs because it interferes with their editorial discretion



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to select, and make available, constitutionally protected materials to whom they desire and to

distribute constitutionally protected materials, including to their target audiences.

       165.    This overbreadth unconstitutionally chills the Public Library and Public School

Librarian Plaintiffs from making available to minors age-appropriate books with serious literary,

artistic, political or scientific value, and interferes with their rights to determine within their own

professional judgment which materials to make available to library patrons and students, and

unconstitutionally chills them from activity protected under the First Amendment.

       166.    This overbreadth violates the First Amendment as to the Student, Parent, and Eagle

Plaintiffs because it interferes with the Student Plaintiffs’ right to receive information and ideas

protected by the First Amendment, Island Trees Union Free School District No. 26 v. Pico, 457

U.S. 853, 867–68 (1982) (plurality opinion), and generates potential stigma surrounding reading,

writing about, or talking about books broadly deemed “harmful to minors” under the law.

                                 CLAIM TWO:
        FOURTEENTH AMENDMENT & FIRST AMENDMENT – VAGUENESS
                    (All Plaintiffs Against All Defendants)

       167.    All prior paragraphs are incorporated herein by reference as if fully set forth herein.

       168.    The Due Process Clause of the Fourteenth Amendment to the U.S. Constitution

prohibits statutes that are so impermissibly vague that an ordinary person would not understand

what conduct the statute regulates or so standardless as to invite arbitrary enforcement. See F.C.C.

v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012).

       169.    When a law “threatens to inhibit the exercise of constitutionally protected rights,”

including First Amendment rights, a “more stringent vagueness test” applies. Vill. of Hoffman

Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982).




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       170.    HB 710 includes terms that are vague, indefinite, arbitrary, and subject to different

meanings such that they fail to provide adequate notice of the obligations they create, in violation

of the Fourteenth Amendment to the United States Constitution.

       171.    In particular, the terms “harmful to minors,” “matter,” “minor,” “adults only,”

“access,” “promote, give, or make available,” and “sexual conduct” are vague and confusing in

that they provide no guidance as to what is covered and/or required under HB 710. See Idaho

Code § 18-1514.

       172.    HB 710 also leaves entirely unclear the meaning of the term “any act

of . . . homosexuality” in its description of “sexual conduct.” Idaho Code § 18-1514(3).

       173.    Neither does HB 710 define the term “relocate” as it pertains to notices for

relocation of materials to an “adult-only” section, nor outline what constitutes an “adult-only”

section in compliance with the law. Idaho Code § 18-1517B(3).

       174.    HB 710’s vague and confusing terms provide wholly insufficient guidelines or

standards to determine what materials should be deemed “harmful to minors” and thus restricted

under its provisions.

       175.    The Act’s vagueness thus invites those tasked with enforcing its provisions to

pursue their own personal viewpoints, predilections, or biases and, as such, arbitrarily suppresses

and chills First Amendment liberties. Such chilling effect is only exacerbated by HB 710’s two-

pronged enforcement mechanism, which provides law enforcement and ordinary citizens —

including individuals without any experience, let alone expertise, in enforcement, statutory

interpretation, or constitutional principles — with the power to enforce its terms.

       176.    This vagueness violates the Fourteenth Amendment to the United States

Constitution as to the Public Library and Public School Librarian Plaintiffs because HB 710 fails



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to put them on notice as to what conduct exposes them to book challenge reviews, litigation, and

liability under HB 710.

        177.    As a result of this vagueness, constitutionally protected materials have been, and

are at risk of being, suppressed and chilled in violation of the First Amendment.

        178.    HB 710’s vagueness further interferes with Publisher Plaintiffs’ and Author

Plaintiffs’ ability to make their constitutionally protected works available to young readers.

Without such access, Student Plaintiffs are denied their rights to read and receive information, and

the Eagle and Parent Plaintiffs are denied their rights to choose the materials to which their children

have access.

                                    CLAIM THREE:
                 FIRST AMENDMENT – VIEWPOINT DISCRIMINATION
                         (All Plaintiffs Against All Defendants)

        179.    All prior paragraphs are incorporated herein by reference as if fully set forth herein.

        180.    Viewpoint discrimination is an egregious form of content-based discrimination.

The government must abstain from regulating speech when the specific motivating ideology or the

opinion or perspective of the speaker is the rationale for the restriction. Rosenberger, 515 U.S. at

829.

        181.    Public libraries and public school libraries across Idaho are, at a minimum, limited

purpose public forums in which content-based restrictions must be both reasonable and viewpoint-

neutral. Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 806 (1985). HB 710

fails on both fronts.

        182.    HB 710 is not viewpoint neutral, because it discriminates against specific

viewpoints by singling out books describing “any act of . . . homosexuality” through Idaho law’s

definition of “sexual conduct.” Idaho Code §§ 18-1514(3); 18-1517B.



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       183.    Idaho law’s relevant definition of “sexual conduct” includes several specific

physical acts, including “sexual intercourse,” “masturbation,” or any “physical contact with a

person’s clothed or unclothed genitals, pubic area, buttocks, or . . . female[] breast.” Idaho

Code § 18-1514(3).

       184.    The definition of “sexual conduct” also includes “any act of homosexuality.” Idaho

Code § 18-1514(3).

       185.    The definition of “sexual conduct” does not include “any act of heterosexuality” or

further define what specific conduct constitutes an “act of homosexuality.”

       186.    The inclusion of this language in the law’s definition of “sexual conduct”

demonstrates that HB 710 is intended to specifically restrict access to, and stigmatize, books that

portray anything having to do with LGBTQ+ characters.

       187.    As a result of this viewpoint discrimination, books that address LGBTQ+ themes

or portray LGBTQ+ characters are being restricted in, removed from, and stigmatized in Idaho

public schools and public libraries, including books that are authored and published by the Author

Plaintiffs and Publisher Plaintiffs.

       188.    The Public Library and Public School Librarian Plaintiffs must decide between

risking challenges, litigation, and penalties under HB 710 and removing books which portray

relationships or romantic encounters between LGBTQ+ characters that would not otherwise

qualify as material “harmful to minors” under HB 710’s definition.

       189.    Due to this viewpoint discrimination, the Student Plaintiffs are being deprived of

their right to access certain books featuring LGTBQ+ characters and exploring LGBTQ+ themes,

and risk potential stigma surrounding reading, writing about, or talking about these books.

Similarly, this viewpoint discrimination impacts the Eagle Plaintiff’s and Parent Plaintiffs’ wishes

for their children to read books featuring LGTBQ+ characters and exploring LGBTQ+ themes.

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                                     CLAIM FOUR:
                  FOURTEENTH AMENDMENT – EQUAL PROTECTION
                         (All Plaintiffs Against All Defendants)

       190.    All prior paragraphs are incorporated herein by reference as if fully set forth herein.

       191.    The Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution

constrains the ability of state actors from discriminating on the basis of gender identity or sexual

orientation. This includes taking official action motivated by discriminatory animus based on

sexual orientation.

       192.    As discussed above, HB 710 discriminates against specific viewpoints by singling

out books describing “any act of . . . homosexuality” through Idaho law’s definition of “sexual

conduct.” Idaho Code §§ 18-1514(3); 18-1517B.

       193.    This language is evidence that HB 710 targets books based on prohibited animus.

       194.    And, in fact, many books that have already been restricted for access, removed from

library collections altogether, or targeted for removal under HB 710 are books that portray

relationships or romantic encounters between LGBTQ+ characters and which would not otherwise

fall within HB 710’s scope if not for the Act’s targeting of books describing “any act of . . .

homosexuality.”

       195.    As a result of this discriminatory animus, authors of books that portray relationships

or romantic encounters between LGBTQ+ characters – many of whom are LGBTQ+ themselves

– are subject to their books being removed or restricted from libraries on discriminatory grounds.

       196.    Public Library and Public School Librarian Plaintiffs must choose between

removing or restricting access to books based on discriminatory grounds or subjecting their

libraries and schools to onerous book challenge review procedures, liability, and monetary

penalties for refusing to do so.


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       197.    As a further result of this discriminatory animus, Student Plaintiffs are being denied

access to books portraying relationships or romantic encounters between LGBTQ+ characters or

exploring LGBTQ+ themes on discriminatory grounds. The rights of Eagle and Parent Plaintiffs

to choose the books their children can access are similarly impaired.

       198.    Such conduct violates the Equal Protection Clause of the Fourteenth Amendment.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:


              A.   Declare that HB 710 violates the First and Fourteenth Amendments and is

therefore unconstitutional, void, and of no effect;

              B.   Issue preliminary and permanent injunctive relief restraining Defendants and

their agents, attorneys, servants, employees, successors in office, and other representatives, from

enforcing HB 710 in any manner whatsoever;

              C.   Award Plaintiffs’ costs of suit and reasonable attorneys’ fees and other expenses

under 42 U.S.C. § 1998; and

              D.   Grant such other and additional relief as the Court deems just or appropriate.


Dated: February 4, 2025                           Respectfully submitted,


                                                  By: /s/Deborah A. Ferguson
                                                      Deborah A. Ferguson
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                                                       CORNELL LAW SCHOOL FIRST
                                                       AMENDMENT CLINIC1

                                                       Attorneys for Plaintiffs




1
 Clinic students Paul Janes, Celina Rivernider, and Alexander Strohl drafted portions of this complaint.
The First Amendment Clinic is housed within Cornell Law School and Cornell University in Ithaca, NY.
Nothing in this complaint should be construed to represent the views of these institutions, if any.

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